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                              UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    MCALLEN DIVISION


    CARLOS VILLARREAL,                                  CIVIL ACTION

    Plaintiff,
                                                         COMPLAINT 7:19-cv-00075
    v.

    WEBCOLLEX, LLC d/b/a CKS FINANCIAL,                  JURY TRIAL DEMANDED

    Defendant.


                                             COMPLAINT

           NOW COMES Carlos Villarreal (“Plaintiff”), by and through his attorneys, Sulaiman Law

Group, Ltd. (“Sulaiman”), complaining as to the conduct of Webcollex, LLC d/b/a CKS Financial

(“Defendant”) as follows:

                                        NATURE OF THE ACTION

         1. Plaintiff brings this action seeking redress for violations of the Fair Debt Collection

Practices Act (“FDCPA”) pursuant to 15 U.S.C. §1692, violations of the Telephone Consumer

Protection Act (“TCPA”) pursuant to 47 U.S.C. §227, and violations of the Texas Debt Collection

Act (“TDCA”) pursuant to Tex. Fin. Code Ann. § 392.

                                       JURISDICTION AND VENUE

         2. Subject matter jurisdiction is conferred upon this Court by the FDCPA, the TCPA, and 28

U.S.C. §§1331 and 1337, as the action arises under the laws of the United States. Supplemental

jurisdiction exists for the state law claim pursuant to 28 U.S.C. §1367.

         3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business

and maintains significant business contacts in the Southern District of Texas, Plaintiff resides in




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the Southern District of Texas, and a substantial portion of the events or omissions giving rise to

the claims occurred within the Southern District of Texas.

                                              PARTIES

    4. Plaintiff is a natural person over 18-years-of-age who is a “consumer” as the term is defined

by 15 U.S.C §1692a(3), and is a “person” as defined by 47 U.S.C. §153(39).

    5. Defendant is a collection agency with its principle office located at 505 Independence

Pkwy, Chesapeake, Virginia 23320.

    6. The principal purpose of Defendant’s business is the collection of consumer debts.

Defendant collects or attempts to collect, directly or indirectly, defaulted debts owed or due or

asserted to be owed or due to others using the mail and/or telephone, including consumers in the

State of Texas.

                             FACTS SUPPORTING CAUSES OF ACTION

    7. Prior to the conduct giving rise to this claim, Plaintiff defaulted on a consumer debt

(“subject debt”). Plaintiff was unable to make timely payments on the subject debt resulting in

default. While the subject debt was in default, Defendant acquired the right to collect or attempt

to collect on the subject debt.

    8. In or around June 2018, Plaintiff began receiving calls to his cellular telephone from

Defendant in an attempt to collect on the subject debt.

    9. Plaintiff began receiving these calls to his cellular telephone number, (956) XXX-6580.

    10. At all times relevant, Plaintiff was  the sole subscriber, owner, possessor, and operator of

his cellular telephone number ending in 6580. Plaintiff is and has always been financially

responsible for this cellular telephone and its services.




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    11. Immediately after the calls began, Plaintiff answered a call to his cellular telephone from

Defendant. In the call, Plaintiff explained to Defendant that he is on social security and is not able

satisfy nor make a payment on the subject debt. Plaintiff became frustrated and demanded that

Defendant cease calling him.

    12. Despite Plaintiff informing Defendant that he is not financially capable of making a

payment on the subject debt and to cease placing calls to his cellular phone, Defendant continued

to call Plaintiff’s cellular telephone without his prior consent.

    13. Notwithstanding Plaintiff’s request that Defendant cease placing calls to his cellular

telephone, Defendant placed or caused to be placed numerous harassing phone calls to Plaintiff’s

cellular telephone between June 2018 and the present day.

    14. Moreover, in the phone calls Plaintiff answered, Plaintiff was greeted by a noticeable

period of “dead air” while Defendant’s telephone system attempted to connect Plaintiff to a live

agent.

    15. Specifically, there would be an approximate 3 second pause between the time Plaintiff said

“hello,” and the time that a live agent introduced them self as a representative of Defendant

attempting to collect on the subject debt.

    16. Likewise, Plaintiff also hears what sounds to be call center noise in the background of

Defendant’s collection calls.

    17. Plaintiff’s demands that Defendant’s phone calls cease fell on deaf ears and Defendant

continued its phone harassment campaign.

    18. Defendant intentionally harassed and abused Plaintiff on numerous occasions by calling

with such frequency as can be reasonably expected to harass.




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    19. Upon information and belief, Defendant placed its calls to Plaintiff’s cellular telephone

using an automated telephone dialing system that is commonly used in the debt collection industry

to collect defaulted loans.

    20. The phone numbers that Defendant most often used to contact Plaintiff were (956) 255-

2420 and (956) 255-5898, but upon information and belief, it may have used other phone numbers

to place calls to Plaintiff’s cellular phone.

    21. Furthermore, at no time did Defendant send Plaintiff any correspondences notifying him

of his rights pursuant to 15 U.S.C. §1692g.

                                                DAMAGES

    22. Defendant’s wanton and malicious conduct has severely impacted Plaintiff’s daily life and

general well-being.

    23. Plaintiff has expended time consulting with his attorneys as a result of Defendant’s

harassing conduct.

    24. Plaintiff was unduly inconvenienced and harassed by Defendant’s unlawful attempts to

collect the subject debt.

    25. Defendant’s phone harassment campaign and illegal collection activities have caused

Plaintiff actual harm, including but not limited to, invasion of privacy, nuisance, intrusion upon

and occupation of Plaintiff’s cellular telephone capacity, wasting Plaintiff’s time, increased risk of

personal injury resulting from the distraction caused by the phone calls, aggravation that

accompanies unsolicited debt collection calls, harassment, emotional distress, anxiety, loss of

concentration, diminished value and utility of his telephone equipment and telephone subscription

services, debilitating Plaintiff’s voicemail capacity, the wear and tear caused to his cellular




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telephone, the loss of battery charge, the loss of battery life, and the per-kilowatt electricity costs

required to recharge his cellular telephone as a result of increased usage of his telephone services.

             COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

    26. Plaintiff restates and realleges paragraphs 1 through 25 as though fully set forth herein.

    27. Plaintiff is a “consumer” as defined by FDCPA §1692a(3).

    28. The alleged subject debt is a “debt” as defined by FDCPA §1692a(5) as it arises out of a

transaction due or asserted to be owed or due to another for personal, family, or household

purposes.

    29. Defendant is a “debt collector” as defined by §1692a(6) because its primary business is the

collection of delinquent debts and it regularly collects debts and uses the mail and/or the telephones

to collect delinquent accounts allegedly owed to a third party.

    30. Moreover, Defendant is a “debt collector” because it acquired rights to the subject debt

after it was in default. 15 U.S.C. §1692a(6).

    31. Defendant used the telephone to attempt to collect the subject debt and, as such, engaged

in “communications” as defined in FDCPA §1692a(2).

    32. Defendant’s communications to Plaintiff were made in connection with the collection of

the subject debt.

    33. Defendant violated 15 U.S.C. §§1692c(a)(1), d, d(5), f, and g through its unlawful debt

collection practices.

       a. Violations of FDCPA § 1692c

    34. Defendant violated §1692c(a)(1) when it continuously called Plaintiff after being notified

to stop. This repeated behavior of systematically calling Plaintiff’s cellular phone over and over

after he demanded that it cease contacting him was harassing and abusive. Even after being told to



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stop contacting him, Defendant continued its onslaught of phone calls with the specific goal of

oppressing and abusing Plaintiff into paying the subject debt.

    35. Furthermore, Defendant has relentlessly called Plaintiff numerous times. This volume of

calls shows that Defendant willfully ignored Plaintiff’s pleas with the goal of annoying and

harassing him.

    36. Defendant was notified by Plaintiff that its calls were not welcomed. As such, Defendant

knew that its conduct was inconvenient and harassing to him.

         b. Violations of FDCPA § 1692d

    37. Defendant violated §1692d by engaging in abusive, harassing, and oppressive conduct by

relentlessly calling Plaintiff’s cellular phone seeking immediate payment on the subject debt.

Moreover, Defendant continued placing the relentless calls after Plaintiff advised Defendant to

cease placing collection calls to his cellular phone.

    38. Defendant violated §1692d(5) by causing Plaintiff’s cellular phone to ring repeatedly and

continuously in an attempt to engage Plaintiff in conversations regarding the collection of the

subject debt with the intent to annoy, abuse, or harass Plaintiff. Specifically, Defendant placed or

caused to be placed numerous harassing phone calls to Plaintiff’s cellular phone using an

automated telephone dialing system without Plaintiff’s consent.

         c. Violations of FDCPA § 1692f

    39. Defendant violated §1692f by using unfair and unconscionable means in attempt to collect

on the subject debt.

    40. Defendant unfairly harassed Plaintiff with numerous phone calls to his cellular phone in

hope of annoying him to the point where he would break down and make a payment on the subject

debt.



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    41. As pled above, Plaintiff was severely harmed by Defendant’s conduct.

    42. As an experienced debt collector, Defendant knew or should have known the ramifications

of placing debt collection calls to Plaintiff after it was informed to cease placing such calls.

    43. Upon information and belief, Defendant systematically places unsolicited and harassing

debt collection calls to consumers in Texas in order to aggressively collect debts in default to

increase its profitability at the consumers’ expense.

    44. Upon information and belief, Defendant has no system in place to document and archive

valid revocation of consent by consumers.

       d. Violations of FDCPA § 1692g

    45. Defendant violated §1692g through its initial communication by failing to properly inform

Plaintiff as to Plaintiff’s rights for debt verification in a manner which was not reasonably

calculated to confuse or frustrate the least sophisticated consumer. Despite the foregoing,

Defendant through its initial communication demanded payment of the subject debt from Plaintiff

through the use of an automated telephone dialing system and failed to adequately send Plaintiff

his right to dispute the validity of the subject debt within five days of the initial communication.

    46. As an experienced debt collector, Defendant knew or should have known the ramifications

of not sending a validation notice within 5 days of the initial communication pursuant to §1692g.

WHEREFORE, Plaintiff CARLOS VILLARREAL respectfully requests that this Honorable
Court:
       a. Declare that the practices complained of herein are unlawful and violate the
           aforementioned statute;
       b. Award Plaintiff statutory and actual damages, in an amount to be determined at trial,
           for the underlying FDCPA violations;
       c. Award Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
           §1692k; and
       d. Award any other relief as the Honorable Court deems just and proper.

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             COUNT II – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

    47. Plaintiff restates and realleges paragraphs 1 through 46 as though fully set forth herein.

    48. Defendant repeatedly placed or caused to be placed frequent non-emergency calls,

including but not limited to the calls referenced above, to Plaintiff’s cellular telephone number

using an automatic telephone dialing system (“ATDS”) or prerecorded or artificial voice without

Plaintiff’s prior consent in violation of 47 U.S.C. §227 (b)(1)(A)(iii).

    49. The TCPA defines ATDS as “equipment which has the capacity...to store or produce

telephone numbers to be called, using a random or sequential number generator; and to dial such

numbers.” 47 U.S.C. §227(a)(1).

    50. Upon information and belief, based on Defendant’s lack of prompt human response during

the phone calls in which Plaintiff answered, Defendant used an ATDS to place calls to Plaintiff’s

cellular telephone.

    51. Upon information and belief, the ATDS employed by Defendant transfers the call to a live

agent once a human voice is detected, thus resulting in a pause after the called party speaks into

the phone.

    52. Defendant violated the TCPA by placing numerous phone calls to Plaintiff’s cellular

telephone between June 2018 and the present day, using an ATDS without his prior consent.

    53. Any prior consent, if any, was revoked by Plaintiff’s verbal revocations.

    54. As pled above, Plaintiff was severely harmed by Defendant’s collection calls to his cellular

phone.

    55. Upon information and belief, Defendant has no system in place to document and archive

whether it has consent to continue to contact consumers on their cellular phones.




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    56. Upon information and belief, Defendant knew its collection practices were in violation of

the TCPA, yet continued to employ them to increase profits at Plaintiff’s expense.

    57. Defendant, through its agents, representatives, vendors subsidiaries, third party contractors

and/or employees acting within the scope of their authority acted intentionally in violation of 47

U.S.C. §227(b)(1)(A)(iii).

    58. Pursuant to 47 U.S.C. §227(b)(3)(B), Defendant is liable to Plaintiff for a minimum of

$500 per phone call. Moreover, pursuant to 47 U.S.C. §227(b)(3)(C), Defendant’s willful and

knowing violations of the TCPA triggers this Honorable Court’s discretion to triple the damages

to which Plaintiff is otherwise entitled to under 47 U.S.C. §227(b)(3)(C).

WHEREFORE, Plaintiff CARLOS VILLARREAL respectfully prays this Honorable Court for
the following relief:
    a. Declare Defendant’s phone calls to Plaintiff to be violations of the TCPA;
    b. Award Plaintiff damages of at least $500 per phone call and treble damages pursuant to 47
       U.S.C. § 227(b)(3)(B)&(C); and
    c. Awarding Plaintiff costs and reasonable attorney fees;
    d. Enjoining Defendant from further contacting Plaintiff; and
    e. Awarding any other relief as this Honorable Court deems just and appropriate.
                 COUNT III – VIOLATIONS OF THE TEXAS DEBT COLLECTION ACT

    59. Plaintiff restates and realleges paragraphs 1 through 58 as though fully set forth herein.

    60. Plaintiff is a “consumer” as defined by Tex. Fin. Code Ann. § 392.001(1).

    61. The alleged subject debt is a “debt” “consumer debt” as defined by Tex. Fin. Code Ann. §

392.001(2) as it is an obligation, or alleged obligation, arising from a transaction for personal,

family, or household purposes.

    62. Defendant is a “debt collector” and a “third party debt collector” as defined by Tex. Fin.

Code Ann. § 392.001(6) and (7).



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       a. Violations of TDCA § 391.302

    63. The TDCA, pursuant to Tex. Fin. Code Ann. § 392.302(4), states that “a debt collector may

not oppress, harass, or abuse a person by causing a telephone to ring repeatedly or continuously,

or making repeated or continuous telephone calls, with the intent to harass a person at the called

number.”

    64. Defendant violated the TDCA when it continuously called Plaintiff’s cellular phone after

he notified it to stop calling. This repeated behavior of systematically calling Plaintiff’s phone

despite his demands was oppressive, harassing, and abusive. The repeated contacts were made

with the hope that Plaintiff would succumb to the harassing behavior and ultimately make a

payment. The frequency and volume of calls shows that Defendant willfully ignored Plaintiff’s

pleas with the intent of annoying and harassing him.

    65. Furthermore, Defendant relentlessly contacted Plaintiff numerous times. Placing such

voluminous calls in short succession constitutes conduct causing a telephone to ring repeatedly or

continuously with the intent to annoy, abuse, and harass Plaintiff into making payment in violation

of the TDCA.

    66. Upon being told to stop calling, Defendant had ample reason to be aware that it should

cease its harassing campaign of collection phone calls. Nevertheless, Defendant consciously chose

to continue placing calls to Plaintiff’s cellular phone.




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WHEREFORE, Plaintiff CARLOS VILLARREAL respectfully requests that this Honorable

Court:

         a. Declare that the practices complained of herein are unlawful and violate the
            aforementioned statute;
         b. Entitling Plaintiff to injunctive relief pursuant to Tex. Fin. Code Ann. § 392.403(a)(1);
         c. Award Plaintiff actual damages, pursuant to Tex. Fin. Code Ann. § 392.403(a)(2);
         d. Award Plaintiff punitive damages, in an amount to be determined at trial, for the
            underlying violations;
         e. Award Plaintiff costs and reasonable attorney fees as provided under Tex. Fin. Code
            Ann. § 392.403(b) ; and
         f. Award any other relief as the Honorable Court deems just and proper.


Plaintiff demands trial by jury.


Dated: March 11, 2019                                  Respectfully Submitted,

/s/ Marwan R. Daher                                    /s/ Omar T. Sulaiman
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